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                       N THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

MELODY JOY CANTU and                            §
DR. RODRIGO CANTU,                              §
Plaintiffs                                      §
                                                §
                                                §   CASE NO.: 5:20-CV-00746-JKP (HJB)
                                                §
V.                                              §
                                                §
DR. SANDRA GUERRA and                           §
DIGITAL FORENSICS                               §
CORPORATION, LLC                                §
Defendants                                      §

            NOTICE OF INTENT TO TAKE THE ORAL AND VIDEOTAPED
                    DEPOSITION OF MELODY JOY CANTU

TO:    MELODY JOY CANTU, by and through her counsel of record, Tor Ekeland, Pro Hac
       Vice, Email: tor@torekeland.com, Michael Hassard, Email: hassard.mike@gmail.com,
       TOR EKELAND LAW, PLLC, 30 Wall Street, 8th Floor, New York, NY 10005, and Rain
       Levy Minns, Email: rain@rainminnslaw.com, MINNS LAW FIRM, P.C., D/B/A RAIN MINNS
       LAW FIRM, 4412 Spicewood Springs Rd., Suite 500, Austin, Texas 78759-8583.

       Please take notice that pursuant to Federal Rule of Civil Procedure 30 and the Scheduling

Order [Doc. 70] regarding the discovery period (as extended by agreement of the parties),

Defendant, Dr. Sandra Guerra, intends to take the oral and/or videotaped deposition of Plaintiff,

MELODY JOY CANTU, before a notary public or some other officer authorized by law to

administer oaths, at 9:00 a.m. on Saturday, July 16, 2022, by remote means via a

videoconferencing platform.

       The deposition, when taken, may continue from day to day until completed, and will be

taken by stenographic means and videoconferencing examination with the answers to be used in

the final trial of the above-styled and numbered cause. You are invited to have counsel present for

purposes of cross-examination.

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DEPOSITION OF MELODY JOY CANTU                                                          PAGE 1 OF 2
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                                             Respectfully submitted,

                                             DAVIS, CEDILLO & MENDOZA, INC.
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                                             By:     /s/ Brandy C. Peery          ________
                                                     RICARDO G. CEDILLO
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                                                     BRANDY C. PEERY
                                                     Texas State Bar No. 24057666
                                                     bpeery@lawdcm.com

                                             ATTORNEYS FOR DEFENDANT,
                                             DR. SANDRA GUERRA


                                CERTIFICATE OF SERVICE

        I certify that on this 9th day of June 2022, a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system which will send electronic
notification of such filing to the parties on record.



                                                /s/Brandy C. Peery              ________




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DEPOSITION OF MELODY JOY CANTU                                                          PAGE 2 OF 2
